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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
          v.                        )                       No. 17-cr-00232 (EGS)
                                    )
MICHAEL T. FLYNN,                   )
                                    )
               Defendant.           )
____________________________________)


              MOTION FOR LEAVE TO FILE AMICUS BRIEF

      Pursuant to this Court’s minute orders of May 12 and May 19, 2020, the

attorneys listed in the Appendix to the proposed brief and also attached hereto,

move for leave to file this brief as amici curiae regarding the issues raised by the

Court in connection with the Government’s pending motion to dismiss.

(DE #198). Amici are a bipartisan group of attorneys with extensive experience in

the federal court system, including many who practice criminal law in this and

other federal courts. Some were prosecutors, government attorneys, or judges.

They have an interest in: (1) the proper application of Fed.R.Crim.P 48 in light of

separation of powers principles, and (2) the potential triggering of a contempt

proceeding for perjury in cases where a client moves to withdraw a guilty plea or

in cases, civil or criminal, where a client provides testimony which a court may

consider to be false.
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        In sum, amici argue that, under the constitutional separation of powers, the

court lacks discretion to deny a Rule 48(a) motion to which a defendant consents,

and that there is no basis for the court to consider a contempt charge against

Gen. Flynn. The proposed brief also highlights an important Brady aspect of the

case.

        Counsel for Gen. Flynn and for the Government indicate that they take no

position on the filing of this proposed brief.

        No brief yet publicly acknowledged to have been with this Court has

addressed the contempt issue, or argued why the separation of powers requires

granting the motion to dismiss. In addition, Gen. Flynn has not provided

arguments on these issues because he simply consented to the Government’s Rule

48(a) motion to dismiss.

        Accordingly, amici request leave to file the attached brief.


                                                 Respectfully submitted,



                                                 __________/s/________________
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                        CERTIFICATE OF SERVICE

       The undersigned counsel hereby affirms that the foregoing Motion for Leave
to File Amicus Brief was served on all counsel of record via ECF filing on May 28,
2020.



                                            __________/s/________________
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